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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF GEORGIA
                                    MACON DIVISION

FLINT RIVERKEEPER, INC., et al.,

                Plaintiffs,

       v.                                                   CIVIL ACTION NO. 5:16-CV-00435

SOUTHERN MILLS, INC., d/b/a
TENCATE PROTECTIVE FABRICS,

                Defendant.


                         ORDER GRANTING JOINT MOTION TO STAY CASE

       Having reviewed the Parties’ Joint Motion to Stay Case [Doc. 39] and finding good cause

therefor, the Court GRANTS the Motion and hereby ORDERS:

       1.       This Case is STAYED until April 11, 2018, subject to the conditions below.

       2.       During the pendency of the stay, the Parties shall work in good faith to reach an

amicable resolution of this matter.

       3.       The Parties will inform the Court of their progress during the stay by filing a Joint

Status Report every month during the pendency of the stay, to be due by the 15th day of each

month (or the first business day thereafter), commencing in November, 2017.

       4.       With regard to any document within the scope of the Parties’ initial written

requests deemed necessary to the efficient prosecution of a solution, the Parties may seek relief

from the Court pursuant to the Court’s Scheduling Order [Doc. 34], IV(H).

       5.       The Plaintiffs will forthwith withdraw their pending Motion to Dismiss TenCate’s

Counterclaim (Dkt. 26) without prejudice to renew such motion. Plaintiffs’ time to respond to

TenCate’s Counterclaim is hereby extended day for day while the stay remains in effect. If
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    Plaintiffs renew the Motion to Dismiss, the Parties shall stand on their respective existing filings

    with respect to the Motion to Dismiss, and shall not file additional materials absent leave of

    Court.

                 6.          Pursuant to Federal Rule of Civil Procedure 15(a) and with the consent of

    TenCate for a limited amendment, the Court hereby grants Plaintiffs leave to file an Amended

    Complaint no later than December 1, 2017 to add additional allegations contained in their

    Supplemental 60-Day Notice of Intent to Sue dated September 18, 2017. Such Amended

    Complaint shall only add the additional allegations contained in the Supplemental Notice to the

    existing Complaint. The time for TenCate to respond to the Amended Complaint shall be tolled

    until fourteen (14) days after dissolution or expiration of the stay.

                 7.          Either party may move the Court for a dissolution of the stay at any time during

    its pendency, provided however that any such motion shall include a certification by Counsel

    that any impasse was attempted to be resolved in good faith prior to the filing of such motion.

                 8.          The Court may direct that the stay be lifted or that the Parties supplement their

    Joint Status Reports at its own discretion,

                 8.          If this matter is not resolved during the pendency of the stay, or any further

    extension granted by the Court, a Case Management Conference shall be set to establish new

    deadlines for the conduct of this action.

                 SO ORDERED this 12th day of October, 2017.


                                                                   S/ C. Ashley Royal 
                                                                   C. ASHLEY ROYAL, SENIOR JUDGE 
                                                                   UNITED STATES DISTRICT COURT 
 
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